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                                                                   2024 Feb-24 PM 01:38
                                                                   U.S. DISTRICT COURT
                                                                       N.D. OF ALABAMA


                          EXHIBIT A
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              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

Audrey Marie Dotson; Audrey South;
Robert Dotson; and Holly Allen,

     Plaintiffs,
                                       CASE NO.: 2:23-cv-01657-MHH
v.                                     JURY TRIAL DEMANDED

Alabama Department of Corrections;
John Q. Hamm; Greg Lovelace;
Deborah Crook; Karen Williams;
ADOC Southern Division Director
[Name Unknown]; ADOC
Supervisory Officer Defendants 1-10
[Names Unknown]; ADOC
Correctional Officer Defendants 1-10
[Names Unknown]; CHS AL LLC
d/b/a YesCare Corp.; Manuel
Pouparinas; YesCare Medical Staff
Defendants 1-10 [Names Unknown];
Alabama Department of Forensic
Sciences Angelo Della Manna;
Edward A. Reedy; ADFS Employee
Defendants 1-10 [Names Unknown];
The Board of Trustees of the
University of Alabama; University of
Alabama System; University of
Alabama Health Services
Foundation, P.C.; and UAB
Defendants 1-20 [Names Unknown],

     Defendants.
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               The deceased, Brandon Clay Dotson

     “Death is unique. It is unlike aught else in its certainty
     and its incidents. A corpse in some respects is the
     strangest thing on earth. A man who but yesterday
     breathed, and thought, and walked among us has passed
     away. Something has gone. The body is left still and cold,
     and is all that is visible to mortal eye of the man we
     knew. Around it cling love and memory. Beyond it may
     reach hope. It must be laid away. And the law—that rule
     of action which touches all human things—must touch
     also this thing of death.”

     Louisville & N.R. Co. v. Wilson, 123 Ga. 62, 63, 51 S.E.
     24 (1905).
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                                   COMPLAINT

      COMES NOW, Plaintiffs Audrey Dotson, Audrey South, Robert Dotson,

and Holly Allen (collectively, the “Plaintiffs”), and respectfully file this Complaint

and allege the following:

                                 INTRODUCTION

      Plaintiffs are a grieving family searching for answers in the wake of Brandon

Clay Dotson’s untimely death in an Alabama prison.

      Brandon was found unresponsive in C-1 dormitory at Ventress Correctional

Facility (“Ventress”) on or around November 16, 2023 – the same day he was

considered for parole release. Although he was not sentenced to die by an Alabama

court, Brandon’s sentence to the custody of the Alabama Department of

Corrections (“ADOC”) for a period of incarceration was tantamount to a death

sentence. Brandon was a forty-three-year-old father.

      After his family was alerted to his death by Defendant Warden Karen

Williams, Brandon’s mother, daughter, brother and sister spent approximately five

(5) days attempting to claim his body from ADOC, after submitting the proper

paperwork as soon as they were alerted to his untimely death, in hopes of holding

his funeral before Thanksgiving Day.

      Finally Brandon’s body was released to his family nearly a week later
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around noon on November 21, 2023, with no explanation as to why his body had

been retained by the State for as long as it was, and where it was during those days.

When the family did receive Brandon’s body, it was apparent that it had not been

properly stored and refrigerated. It was noticeably decomposed, so despite the

family’s initial wishes, they had no choice but to hold a closed-casket funeral

service.

      Plaintiffs suspected foul play, in part because of the ADOC’s extensive and

ongoing violations of basic human and constitutional rights, so they retained

autopsy pathologist Dr. Boris Datnow to conduct a second autopsy of Brandon’s

body. Upon conducting the autopsy, Dr. Datnow discovered that the heart was

missing from the bag of viscera that had been placed in the cavity of Mr Dotson’s

abdomen. Though it is standard practice for organs to be removed for examination

during an autopsy, standard procedure and state law orders that all organs be

returned to the body, unless certain requirements are met. Defendant(s) or their

agents had – without the required permission from Brandon’s next of kin –

removed and retained or otherwise converted Brandon’s heart.

      The loss of a loved one is one of the most intimate and personal experiences

in our lives. We cope with death with rituals that allow us to say our final farewells

to loved ones with honor and respect. Usually, the most powerful aspects of these
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rituals involve what we do with the decedent’s remains. Respect for the dead and

sympathy for a family mourning a loss are some of the few things that unite us all.

Also uniting us is the overwhelming sense of outrage we feel when we learn of

unimaginable neglect in the handling of remains, sometimes involving deliberate

fraud and the worst forms of human greed. Defendant’s overall mistreatment of

Brandon’s body and the Dotson family amounts to outrageous conduct that

needlessly and recklessly intensified the family’s emotional distress.

      First, Plaintiffs seek the immediate return of Brandon’s heart (and any other

remains retained by Defendants) to the family so that it may be examined by a

pathologist and then properly cremated or interred.

      Plaintiffs also seek the relief described herein to hold Defendants’

accountable for wrongful death, violation of constitutional rights, fraud,

negligence, wantonness, conversion, trespass to chattel, interference with the right

of burial or disposition of the deceased, willful interference with remains,

intentional and negligent mishandling of a corpse, intentional and negligent

infliction of emotional distress, outrage and unjust enrichment.

      This is a civil action against the ADOC, the ADOC Commissioner, ADOC

supervisory personnel and corrections officers, and ADOC’s medical provider CHS

AL LLC d/b/a YesCare Corp. (“YesCare”), who established and/or maintained the
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administrative machinery that permitted, encouraged, allowed, and/or were

otherwise indifferent to the conditions that lead to, resulted in, and caused the death

of Brandon on or around November 16, 2023, in violation of Brandon’s

constitutional rights.

      This is also a civil action against all Defendants for engaging in the illegal,

reprehensible and outrageous conduct of retaining organs and tissues from

incarcerated individuals who die in state custody without the consent of their

family, next of kin, or agents, as required by law. Individuals across the ADOC;

the Alabama Department of Forensic Sciences (“ADFS”); and The Board of

Trustees of the University of Alabama (the “Board”), The University of Alabama

System (“UA System”), University Of Alabama Health Services Foundation, P.C.

(“UA Foundation”), (together, the “UAB Defendants”) and their agents, knew or

should have known of this repugnant practice. These trusted state agencies, state

employees, and private medical professionals must be held accountable for

disrespecting, misleading, and exploiting a grieving family at their most vulnerable

moment.

                          JURISDICTION AND VENUE

      1.     This action arises under the Eighth and Fourteenth Amendment to the

United States Constitution, 42 U.S.C. § 1983. The Court has jurisdiction of this
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matter pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3).

      2.    This judicial district is an appropriate venue under 28 U.S.C. §

1391(b)(1) because some of the Defendants are residents of and/or situated in

Jefferson County, Alabama, which is located in the Southern Division of the

Northern District of Alabama.

      3.    The Court has supplemental jurisdiction over the pendent state law

claim pursuant to 28 U.S.C. § 1367(a).

                                    PARTIES

                                     Plaintiffs

      4.    Audrey Marie Dotson is a citizen and resident of the state of

Alabama. She is the daughter of the deceased Brandon Clay Dotson.

      5.    Audrey South is of legal age and a citizen and resident of the state of

Alabama. As next of kin, she is the representative of the estate of Brandon Dotson.

She is the mother of the deceased Brandon Dotson.

      6.    Robert Dotson is a citizen and resident of the state of Alabama. He is

the brother of the deceased Brandon Dotson.

      7.    Holly Allen is a citizen and resident of the state of Alabama. She is

the sister of the deceased Brandon Dotson.

      8.    All Plaintiffs sue in their individual capacity, to hold Defendants
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accountable for their wrongdoing, for the extensive intentional emotional damage

they have inflicted, and for their blatant disregard for the law. Plaintiffs

additionally seek to deter similar wrongful conduct from occurring in the future, so

that no other family has to go through what the Dotson family has been through at

the hands of Defendants.

      9.     Plaintiff Audrey South seeks damages as the representative of

Brandon’s estate, to remedy the violations of Brandon’s rights secured by the

United States Constitution and the laws of the state of Alabama.

      10.    The decedent, Brandon Clay Dotson, was originally from Lawrence

County, Alabama, and is survived by his daughter Audrey Dotson; his mother

Audrey South, his brother Robert Dotson and his sister Holly Allen. Brandon was

forty-three years old at the time of his death.

                                      Defendants

      11.    Alabama Department of Corrections (“ADOC”) is an

administrative department of the state of Alabama, established by law, and is

responsible for administering and exercising the direct and effective control over

penal and corrections institutions throughout this state, including Ventress

Correctional Facility in Clayton, Alabama (“Ventress”). ADOC is based in

Montgomery County, Alabama.
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      12.    John Q. Hamm was the Commissioner at ADOC at all relevant

times. Defendant Hamm is responsible for exercising the authority, functions, and

duties of the Commissioner of the ADOC including the appointment of personnel

and employees within the ADOC required for the performance of the ADOC’s

duties towards the people it incarcerates. Those duties include operating a prison

system that upholds the constitutional and human rights of persons within the

custody of the ADOC, including the rights belonging to Brandon while he was a

prisoner at Ventress.

      13.    Greg Lovelace was the Chief Deputy Commissioner of Corrections at

ADOC at all relevant times.

      14.    Deborah Crook was the Deputy Commissioner of Health Services at

ADOC at all relevant times.

      15.    Unnamed Southern Division Director Defendant, whose identity

shall be ascertained through discovery, was the Southern Division Director at

ADOC who oversaw Ventress at all relevant times.

      16.    Karen Williams was the warden at Ventress at all relevant times.

      17.    ADOC Supervisory Officers 1 through 10 had supervisory duties at

Ventress at all relevant times.

      18.    ADOC Correctional Officers 1 through 10 were on duty at Ventress
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at all relevant times.

      19.    Defendants listed in paragraphs 11 through 18 shall collectively be the

“ADOC Defendants”.

      20.    CHS AL, LLC d/b/a YesCare Corp. (“YesCare”) is the third party

medical provider at Ventress at all relevant times.

      21.    Manuel Pouparinas is a medical doctor employed or contracted by

YesCare, and was tasked with overseeing and providing medical care and

life-saving treatment at Ventress at all relevant times.

      22.    YesCare Medical Staff 1-10 were tasked with providing medical care

and life-saving treatment at Ventress at all relevant times.

      23.    Defendants listed in paragraphs 20 through 22 shall collectively be the

“YesCare Defendants”.

      24.    Alabama Department of Forensic Sciences (“ADFS”) is an

administrative department of the state of Alabama, established by law, and is

responsible for conducting some of the autopsies of a person who dies in ADOC

custody. ADFS’s mission is “the application of science and medicine to the

purposes of Justice.” ADFS is based in Lee County, Alabama.

      25.    Angelo Dello Manna was the Director of ADFS at all relevant times.

      26.    Edward A. Reedy was a pathologist at ADFS at all relevant times.
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      27.    ADFS Employee Defendants 1-10 were employees of ADFS at all

relevant times.

      28.    Defendants listed in paragraphs 24 through 27 shall collectively be the

“ADFS Defendants”.

      29.    The Board of Trustees of the University of Alabama (“The

Board”), established by the Alabama Constitution, ensures the effective leadership,

management, and control over the activities of the three (3) doctoral research

universities in The University of Alabama System. The primary functions of the

Board are to determine the major policies of the System. These include reviewing

existing policies; defining the mission, role, and scope of each campus; and

assuming ultimate responsibility to the public and political bodies of Alabama.

Rules, policies, and procedures are promulgated to ensure that, through The

University of Alabama System Office, the necessary flow of information for such

accountability takes place. The Board is based in Tuscaloosa County, Alabama.

      30.    University of Alabama System (“UA System”) is a public university

system in Alabama that coordinates and oversees three (3) research universities,

including University of Alabama at Birmingham (“UAB”). Rules, policies, and

procedures are promulgated by the System to ensure that the necessary flow of

information for accountability takes place concerning the research universities’
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policies; mission, role, and scope of each campus; and the ultimate responsibility to

the public and political bodies of Alabama. UA System is based in Tuscaloosa

County, Alabama.

      31.     University of Alabama Health Services Foundation, P.C. (“UA

Foundation”) is a 501(c)(3) public charity based in Jefferson County, Alabama. UA

Foundation is based in Jefferson County, Alabama.

      32.     Unnamed UAB Defendants 1-20 were employed by the Board, the

System, or UA Foundation and knew or should have known that these entities were

receiving organs and tissues from individuals who had died in prison custody

without the consent of the deceased, their agents, or their next of kin.

      33.     Defendants listed in paragraphs 29 through 32 shall collectively be the

“UAB Defendants”.

      34.     Defendants were acting under color of State law at the time of the

events described in this Complaint.

      35.     Individual Defendants are sued in their official and personal

capacities.

      36.     At this time, the true and correct names of Unnamed Defendants are

unknown to the Plaintiffs, but will be added by amendment when ascertained.

                             STATEMENT OF FACTS
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                          Before Brandon Dotson’s Death

       37.   Plaintiffs were informed and believe that in the days leading up to

Brandon’s death, Brandon had been in segregated housing asking for help, as he

was the target of violence by other incarcerated individuals. Defendants ADOC

Supervisory Officers and Correctional Officers ignored Brandon’s unmistakable

pleas for help and instead returned him to a “general population” dormitory, where

he could access drugs and easily be attacked by those seeking to harm and exploit

him.

       38.   Upon information and belief, Brandon had repeatedly been forced to

vacate his assigned bed by incarcerated men who extorted and abused him.

       39.   ADOC Supervisory and ADOC Correctional Officers were aware of

Brandon’s concerns for his safety, yet did nothing to prevent the harm that came to

him in the weeks leading up to his death on November 16, 2023.

       40.   At the time of Brandon’s death, the dormitory in which he was housed

was grossly understaffed and severely overcrowded. ADOC Defendants, including

but not limited to Defendant Warden Williams, Defendant Southern Regional

Director, Defendant Lovelace and Defendant Hamm all had notice of Ventress’s

chronic understaffing of correctional officers and overcrowding of incarcerated

people, and the volatile and violent conditions that such dynamics create.
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      41.    No member in the correctional staff was available to prevent the abuse

Brandon endured, and the constant and unlimited access to drugs that he had, or to

rescue Brandon timely to save his life, or if such staff was available, they ignored

the warning signs and direct pleas for help when they had every opportunity to

intervene and prevent the death of Brandon.

      42.    ADOC Supervisory Officers and ADOC Correctional Officers were

deliberately indifferent in responding to the known security and safety hazards and

Eighth Amendment violations at Ventress, even as the level of drug use and

violence has escalated.

      43.    ADOC Defendants’ actions and inactions proximately caused

Brandon’s death, in violation of his Eighth Amendment rights not to suffer cruel

and undue punishment while incarcerated.

      44.    The Plaintiffs seek punitive damages from the ADOC Defendants for

Brandon’s death due to their deliberate indifference to his health and safety, and

failure to protect him from harm while incarcerated.

                              Brandon Dotson’s Death

      45.    Upon information and belief, Brandon was found unresponsive in his

assigned bed in C-1 dormitory at Ventress on November 16, 2023. The exact time

of his death is unknown, as such documentation has not yet been provided to
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Plaintiffs.

       46.    One ADOC correctional officer (whose name is not yet confirmed by

Plaintiffs) was not supervising the dormitory unit C-1 where Brandon was found

unresponsive, despite being assigned to oversee this unit. This ADOC officer was

socializing in another area of the prison, rather than doing their job. Had this

employee seen Brandon’s serious medical needs sooner, Brandon’s death likely

could have been prevented through life-saving interventions.

       47.    Upon information and belief, ADOC prisoners conduct many of the

staffing functions of Ventress because the ADOC does not have adequate staffing

levels to perform the duties necessary to ensure constitutional conditions for those

incarcerated. One function prisoners performed the day Brandon died was

conducting “count” to identify whether each prisoner in the facility is alive and

accounted for. Had ADOC Supervisory Officers or ADOC Correctional Officers

conducted the count on the day of Brandon’s death rather than prisoners, Brandon

would have been found unresponsive sooner than he was, and it is likely his life

could have been saved.

       48.    In contravention to ADOC Defendants’ stated policies, incarcerated

men loaded Brandon onto a trash cart to wheel him to the Ventress infirmary.

       49.    Upon information and belief, no emergency intervention was
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performed or called in to attempt to revive Brandon. No ambulance or emergency

transport service was called by ADOC and YesCare Defendants.

      50.    Upon information and belief, ADOC and YesCare Defendants failed

to administer Naloxone or its equivalent, which can reverse an opioid overdose.

      51.    ADOC Defendants and YesCare Defendants delayed, denied, and/or

were deliberately indifferent to Brandon’s serious medical needs, and failed to

immediately provide or otherwise obtain immediate emergency medical treatment,

and as a result, Brandon died.

                          ADOC Conditions of Confinement

      52.    The 2023 calendar year was the deadliest in the Alabama Department

of Corrections’ history, with at least 325 in-custody deaths. As a point of

comparison, from February 2015 through November 2015, only seven (7) people

were killed in the ADOC, which at the time was considered quite high.

      53.    The ADOC lists “[t]o ensure safe, humane and constitutional

conditions of incarceration in all facilities,” including Ventress, as one of its

Department priorities.

      54.    In its 2023 Annual Report, the Alabama Department of Corrections

also states as its Department Values: “We value a safe, secure and rehabilitative

environment for the inmate population.”
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      55.    Despite these professed values in its own policy statements and

acknowledgement of violent consequences due to overcrowding and understaffing,

violence has continued unabated throughout ADOC prisons for years. Defendant

Hamm has repeatedly acknowledged that the ADOC faces violent consequences

from prison overcrowding and understaffing.

      56.    On October 6, 2016, the United States Department of Justice (“DOJ”)

announced that it had opened a Civil Rights of Institutionalized Persons Act

(“CRIPA”) investigation into Alabama’s male prisons, including Ventress.

      57.    In June of 2017, the United States District Court found that “ADOC

facilities are significantly and chronically overcrowded." Braggs v. Dunn, 257 F.

Supp. 3d 1171, 1193 (M.D. Ala. 2017). The court further noted that “The

combination of overcrowding and understaffing leads to an increased level of

violence, both because of the difficulty of diffusing tension and violence in an

overcrowded open-dormitory setting, and because of the lack of supervision by

correctional officers.” Id at 1200.

      58.    Former ADOC Commissioner Jefferson Dunn, in sworn testimony in

the United States District Court for the Middle District Of Alabama, “aptly

described the prison system as wrestling with a ‘twoheaded monster’:

overcrowding and understaffing.” Braggs, 257 F. Supp. 3d at 1184.
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      59.    On April 2, 2019 the DOJ Civil Rights Division released the results of

their investigation into ADOC, finding “reasonable cause to believe that Alabama

routinely violates the constitutional rights of prisoners housed in the Alabama’s

prisons by failing to protect them from prisoner-on-prisoner violence and

prisoner-on-prisoner sexual abuse, and by failing to provide safe conditions. The

violations are exacerbated by serious deficiencies in staffing and supervision and

overcrowding.”

      60.    The DOJ issued a second report detailing findings of excessive force

by officers on July 23, 2020.

      61.    On December 9, 2020, the DOJ filed a lawsuit against ADOC. The

complaint alleges that the conditions at Alabama’s prisons for men violate the

Constitution because Alabama fails to provide adequate protection from

prisoner-on-prisoner violence and prisoner-on-prisoner sexual abuse, fails to

provide safe and sanitary conditions, and subjects prisoners to excessive force at

the hands of prison staff. The lawsuit is the result of a multi-year investigation into

allegations of constitutional violations within Alabama’s prisons for men

conducted by the DOJ’s Civil Rights Division and the U.S. Attorney’s Offices for

the Northern, Middle, and Southern Districts of Alabama.

      62.    As required by CRIPA, the DOJ provided the state with written notice
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of the supporting facts for these alleged unconstitutional conditions, and the

minimum remedial measures necessary to address them in Notice Reports issued

on April 2, 2019 and July 23, 2020. CRIPA authorizes the department to act when

it has reasonable cause to believe there is a pattern or practice of deprivation of

constitutional rights of individuals confined to correctional facilities operated by or

on behalf of state or local government. For over 20 months the DOJ engaged in

negotiations with ADOC without achieving a settlement that would correct the

deficiencies identified by the DOJ’s investigation.

                      Unconstitutional Conditions at Ventress

      63.    According to Defendant ADOC’s website, “Ventress has a primary

mission of providing alcohol and drug treatment to ADOC’s inmate population.”

      64.    Despite this claim, Ventress is essentially an open-air drug market.

Prisoners report having much easier access to drugs in ADOC than they do in the

free world. Upon information and belief, officers and other employees and

contractors of ADOC are often smuggling this contraband into the prisons.

      65.    ADOC Defendants knowingly and intentionally fail to prevent the

illegal contraband trade that floods Ventress with dangerous drugs.

      66.    In addition to the contraband, prisoners at Ventress are often

double-bunked. Supervisors and officers’ lines of sight inside the dormitories are
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limited, and this combination can lead to a higher risk of drug use and violent

activity.

       67.   In addition to the overcrowding and understaffing, the violence and

drug use at Ventress perpetuates year after year because its correctional officers

continue to lack training and supervision needed to turn the tide of unrelenting

violence inside prison walls.

       68.   At all times material to this action, the ADOC Defendants knew of the

prevalence of contraband weapons and drugs, uncontrolled movement of inmates,

the understaffing, and overcrowding at Ventress, and knew that they needed to take

steps to prevent the flow of contraband, control movement, reduce overcrowding

or ensure adequate staffing in order to prevent further murders and assaults, but

failed to do so.

       69.   Defendant Hamm had been briefed about overcrowding, correctional

understaffing, and ongoing violence and threats of violence and drug overdoses at

Ventress in the months and years leading up to Brandon’s death. Despite his

knowledge of substantial risks of serious harm to prisoners at Ventress, Defendant

Hamm failed to act to prevent prisoners at Ventress, including Brandon, from

suffering injury and death.

       70.   Defendants Lovelace, Williams, Supervisory Officers and
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Correctional Officers had been briefed about overcrowding, correctional

understaffing, and ongoing violence and drug access at Ventress Correctional

Facility in the months leading up to Brandon’s death. Despite their knowledge of

substantial risks of serious harm to prisoners at Ventress, Defendants failed to act

to prevent prisoners at Ventress, including Brandon, from suffering injury and

death.

                                After Brandon’s Death

         71.   Ventress’s Warden Defendant Williams called Brandon’s brother

Robert Dotson the evening of his death, November 16, 2023, as Brandon had listed

Robert as his next of kin upon being committed to the ADOC. Robert received this

call at approximately 5:40 PM.

         72.   Defendant Warden Williams told Robert that his brother was

deceased, and then told him that “they” were “working on him in the back.” When

Robert questioned why they were working on Brandon if he was dead, Williams

responded that Brandon had overdosed and they did not expect him to make it.

Williams did not clarify whether Brandon was still alive at this time.

         73.   Brandon‘s death certificate, certified by Defendant Dr. Manuel

Pouparinas, lists his time of death at 1740.

         74.   According to Warden Williams and ADFS pathologist Dr. Edward
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Reedy, Brandon‘s body was picked up by J. K. Hopper with Capital Removal

Services. It is unknown what time Brandon’s body was picked up from Ventress.

      75.    Defendant Williams informed Robert that his brother was found dead

in his bed. Robert asked Defendant Williams whether Brandon had been beaten to

death. Defendant Williams responded abruptly, asking why everyone thinks that a

prison death is always caused by a beating.

      76.    Defendant Williams asked Robert if his family intended to claim the

body. Robert responded affirmatively, that they would claim the body. Defendant

Williams expressed surprise, commenting that many families did not have the

financial resources to claim the body and that, as a result, sometimes the wardens

did not contact the families at all when a death occurred.

      77.    Robert informed Defendant Williams that their mother, Audrey South,

would be making decisions regarding the collection of Brandon’s remains.

Williams told Robert that she would call Ms. South in the morning, but when Ms.

South got word of Williams’ intention to delay the conversation, she immediately

called Williams herself to get more information regarding her son’s death.

      78.    Williams told Ms. South that she would need to submit paperwork to

ADOC to allow the family to claim Brandon’s body. Williams told Ms. South that

ADOC was required to perform an autopsy, when Ms. South expressed her desire
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for ADOC not to touch Brandon’s body at all. Williams did not provide to or seek

from Ms. South any other information.

      79.    Ms. South provided All of the necessary paperwork to ADOC to claim

Brandon’s body on November 17th, 2023.

      80.    Plaintiffs and their attorney repeatedly attempted to reach Williams

and other ADOC employees to claim Brandon’s body on Friday, November 17th;

Saturday, November 18th; Sunday, November 19th; and Monday, November 20th.

      81.    On Tuesday, November 21st, Plaintiffs finally gained possession of

Brandon’s body at approximately 11:30 AM.

                           Condition of Brandon’s Body

      82.    Upon receiving Brandon’s body from ADFS Defendants, Plaintiffs

immediately had it brought to Dr. Boris Datnow, a board certified pathologist they

had hired to conduct a second autopsy.

      83.    Plaintiffs were informed by Dr. Datnow that Brandon’s heart had been

removed from his body, and was not present in his body along with his other

viscera.

      84.    Dr. Datnow noted that the body was in a noticeable state of

decomposition, and based on his professional opinion, determined that the body

could not have been properly refrigerated during the five (5) days that it was in the
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possession of ADFS.

      85.    The funeral director at Lawrence Funeral Home further informed

Plaintiffs that the body was highly decomposed when it arrived. Based on his years

of experience accepting corpses, the funeral director determined that the

decomposition indicated that the body had not been properly stored while in the

possession of ADFS.

      86.    The ADOC and ADFS or one of their agents was or should have been

in sole possession of the body of Brandon Dotson after his death until it was

claimed by Plaintiffs.

      87.    At some point while Brandon’s body was in the sole control of

Defendants or their agents, his heart was removed from his body and retained by

Defendants or their agents.

      88.    Upon opening the casket, the family members saw bruising on the

back of Brandon’s neck and excessive swelling across his head. The stench of his

body was overwhelming. As a result, the family decided to have a closed casket

funeral.

                         Chain of Custody of Brandon’s Body

      89.    As a result of Defendants’ refusal to provide Plaintiffs with

information concerning the chain of custody for Brandon’s body, Plaintiffs are not
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aware of which entities had possession of Brandon’s body and for how long.

      90.    Based on information and belief, Brandon was found unresponsive in

his bed in the afternoon on November 16, 2023.

      91.    Based on information and belief, Brandon was wheeled to the

Ventress infirmary on a trash cart by other inmates.

      92.    Based on information and belief, Brandon was placed in a room in the

infirmary that is used when a person is at risk of death or deceased. This room is

closely monitored, and only authorized personnel can enter.

      93.    Based on information and belief, J.K. Hopper from Capital Removal

Services (“Capital Removal”) came to Ventress to transport Brandon’s body.

Hopper arrived and Brandon’s body was loaded into his transport van while it was

dusk outside, so at or around sunset at 4:44 PM.

      94.    It was reported to ADFS at 7:28 PM that Brandon had been found

unresponsive in a top bunk at Ventress.

      95.    ADFS received Brandon’s body at 2:19 AM on November 17, 2023.

      96.    No Defendant has accounted for the location of Brandon’s body

between when it was picked up by Capital Removal from Ventress at dusk and

when it was dropped off at ADFS over nine (9) hours later.

      97.    ADFS pathologist Dr. Reedy Testifies that the heart was present in the
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body when the anterior torso was opened, that he removed the heart from the body

to weigh it and examine it, and that he sectioned it extensively. he reports that a

small representative section of the heart muscle was saved in formalin, per

standard autopsy practice,” and that “[t]he remainder of the extensively sectioned

heart tissue, along with all other internal viscera, was placed in a viscera bag,

which was then positioned inside the body cavity, to be released with the body, and

the body was closed.”

      98.    Neither ADFS nor any other Defendant has provided Plaintiffs with

evidence that the body was not further tampered with after Dr. Reedy completed

the autopsy but it was claimed by the family.

      99.    ADFS claims that Brandon's body was placed into refrigerated storage

from the time it was received on November 17 until his autopsy was performed on

Monday, November 20 at 8:53 AM, and then returned to refrigerated storage after

the autopsy was complete at 9:59 AM until the body was claimed the next day by

Plaintiffs’ chosen funeral home. However, Dr Datnow and the Lawrence Funeral

Home Director indicate that it cannot be possible that the body was properly

refrigerated and that it was in such an advanced state of decomposition when the

family received the body on Tuesday, November 21st, in the absence of some other

form of illegal activity.
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      100. To date, no one has explained to the family why Brandon’s heart was

missing when his body was turned over to them. Plaintiffs do not know where Mr

Dotson’s heart currently is, or in whose possession.

                  UAB Heart Transplant on November 16, 2023

      101. Based on information and belief, medical personnel employed or

contracted by UAB Defendants carried out a heart transplant on the evening of

November 16th, 2023, at the exact time that Brandon’s body is unaccounted for.

      102. In the afternoon of November 16th, 2023, a person (whose name is

known to Plaintiffs’ counsel but is being withheld to respect their privacy) who had

been awaiting a heart transplant received word that a compatible heart had become

available, and that the heart transplant would be performed that evening.

      103. The heart transplant surgery was delayed from its originally scheduled

time of approximately 10:00 PM until 12:30 AM, as the heart had not yet arrived at

the location where the transplant was to be performed.

      104. At or around 12:30 AM on November 17th, the heart transplant

surgery conducted by agents, contractors or employees of UAB Defendants began.

      105. After an approximately 11-hour surgery, the heart transplant was

successfully completed on November 17, 2023.

      106. UAB conducts approximately 30 heart transplants per year.
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      107. Alabama’s number of organ donors upon death outpaces the nation.

For example, in 2016, the Alabama Organ Center, now Legacy of Hope, had 153

organ donors donate 425 organs upon death – a 24% increase from 2015. During

that same period, nationwide transplant numbers increased only 8.5%. During that

same period, the number of autopsies performed by UAB of individuals who died

while in custody of ADOC increased.

            UAB History of Using Specimens from Incarcerated People

      108. In 2018, a group of medical students at University of Alabama at

Birmingham School of Medicine (“UABSOM”) noticed that a disproportionate

number of the specimens they encountered during their medical training originated

from individuals who had died in prison custody within the Alabama Department

of Corrections. These students (“UABSOM Students”) began conducting their own

research into this anomaly.

      109. The UABSOM Students gathered the following facts:

         a. The UAB Division of Autopsy is contracted by the Department of

            Corrections to perform autopsies on incarcerated individuals who die

            in state custody. Each autopsy request is initiated by a warden. As

            documented through UAB Division of Autopsy publications, from

            2006 to 2015, per the Division of Autopsy’ 2017 publication, 23% of
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      their yearly income comes from Department of Corrections autopsies,

      and 29% comes from Alabama Dept of Forensic Science.




   b. Wardens can limit the autopsy to a strict determination of death, with

      no tissues retained for research or education. However, according to a

      UABSOM doctor, wardens always sign “no limitations” on the form

      which initiates the request for autopsy. Neither the patient, nor their

      family, has consented to the retention of tissues for teaching,

      education, or research.
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   c. A percentage of teaching samples used in UABSOM’s preclinical

      pathology education have been obtained without consent.

   d. Between 15% and 69% of incarcerated persons have a persistent

      medical problem not examined by medical personnel. Between 21%

      and 36% are not receiving prescriptions for current medical needs.

   e. The incarcerated population have inconsistent healthcare access

      constrained by, among other factors: $12-$100 copays, while making

      No money for their labor or mere cents per hour.

   f. The Mission Statement of UABSOM is “[t]o improve the health and

      well-being of society, particularly the citizens of Alabama, by

      providing innovative health services of exceptional value that are

      patient- and family-centered, a superior environment for the education

      of health professionals, and support for research that advances

      medical science.”

   g. Because of the involuntary nature of their confinement, prisoners are

      more vulnerable to coercion regarding their consent to participate in

      research, thus it is important to make the process as voluntary as

      possible.

   h. A disproportionate amount of pathology lab specimens used for
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             teaching purposes are from incarcerated individuals because they have

             the most advanced pathology (i.e. it is easier to study a 3 cm tumor

             than a 3 mm tumor). Additionally, there have already been abstracts

             written by UAB Pathology regarding misdiagnosis rates at UAB

             Hospital versus the ADOC, including organs from incarcerated

             individuals.

         i. The pathology lab has a private contract to perform autopsies for the

             DOC, then uses these specimens for both research and teaching, but is

             in no way advocating for a change in health care access or quality

             received from the DOC.

      110. On September 20th, 2018, the UABSOM Students met with the

UABSOM Ethics Oversight Committee (“Ethics Committee”) to present their

findings. During this meeting, the majority of the Ethics Committee members took

the position that organs removed from a cadaver’s body during autopsy are used

for the secondary purposes of teaching future physicians and thereby benefits

future patients. If such uses are disallowed, these specimens would only be

disposed of, serving no useful purpose. Thus, it was a position of the ethics

committee that the autopsy process and the teaching uses of specimens obtained

through the autopsy on incarcerated individuals in the current fashion would be
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ethically permissible.

      111. The Ethics Committee acknowledged that it is true that in private

autopsy the next of kin (usually family members) has the option to opt out of the

retention and teaching uses of a deceased person’s organs following autopsy.

      112. The UABSOM Students documented that they felt frustration at the

lack of response from the Ethics Committee. They pursued meetings with other

administrators and asked administrators to implement the following policies:

         a. Any organs obtained with consent given only by a warden/entity of

             the state shall be removed from the education collection.

         b. Until a process is created to obtain informed consent from

             incarcerated people or their true next of kin, their organs will not be

             used for educational or research purposes.

         c. Language should be included to minimize potential coercion of organ

             donation by prisoners and offer the right to withdraw without penalty.

             Examples from the University of Virginia Institutional Review Board

             recommendations:

               i.   “Your information will not be shared with the parole board or

                    the prison staff. Your participation will be kept private and will

                    not affect your parole review” and “If you decide to withdraw
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                   from the study, this information will not be shared with the

                   parole board or with prison staff”

      113. On November 26, 2018, the UABSOM Students brought their

unaddressed concerns to the administration in a formal meeting. They alerted the

administration that the Ethics Committee meeting was unproductive. The

UABSOM Students commented that no Ethics Committee member presented

outside research, prompting concern that the Ethics Committee did not do their

due diligence regarding the issue. In addition, students noted that data from the

Autopsy Department was provided by members of the Autopsy Department and

was not double checked by the Ethics Committee. Furthermore, students reported

that they were accused of being “inflammatory” and comparing their educators to

“criminals.”

      114. During this November 26th meeting, the UABSOM Students also

alerted the administration to the fact that the autopsy lab responded to the student

concerns by stating that they are no longer including incarceration status in patient

vignettes because of the students ethical concerns, as had been done before they

raised their ethical concerns. The students commented that refusing to provide

information about the source of the tissues they encountered in the autopsy lab

rendered them unable to make an informed decision about their participation in
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such practices.

      115. An administrator admitted that 1/3 of the samples in the pulmonary

lab are from incarcerated individuals. Based on this admission and other

information, the UABSOM Students concluded that incarcerated people are 50

times more likely to represent teaching samples than non-incarcerated individuals.

      116. On February 18th, 2019, the UABSOM Students again met with

administrators. An administrator stated that solid organ autopsy specimens from

incarcerated persons would no longer be utilized in UABSOM undergraduate

medical education. This administrator informed the students that specimens would

remain in the Pathology Department but would not be used to teach students.

Another administrator stated that the Pathology Department has been asked to

obtain consent for future specimens. Students documented, however, that no

measures were taken or, to their knowledge, have been taken to enforce this action

in any way.

      117. Upon information and belief, UAB Defendants (including but not

limited to their medical employees, agents or contractors) had, at some point after

Brandon’s death, access to and possession of his heart.

                              ATTORNEYS’ FEES

      118. In order to prosecute the causes of action alleged herein, the Plaintiff
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retained the undersigned attorneys to litigate the claims in this case. The Plaintiff is

entitled to recover reasonable attorneys’ fees and costs. See 42 U.S.C. § 1988.

                                      COUNT I

          Eighth and Fourteenth Amendment Violations; 42 U.S.C. § 1983

                    (Against ADOC Defendants, YesCare Defendants)

         119. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the paragraphs 37 through 70 of this Complaint as if fully

set forth herein.

         120. Defendants acting under color of law within the meaning of 42 U.S.C.

§ 1983 were deliberately indifferent to the potential harm to Brandon, failed to

intervene, protect, and keep Brandon safe from harm, which ultimately resulted in

Brandon’s death.

         121. The Eighth Amendment imposes a duty upon prison officials to

protect prisoners from violence at the hands of other prisoners and access to illicit

drugs.

         122. Defendants breached these duties and were deliberately indifferent to

Brandon’s safety, well being, and health, and thereby failed to prevent harm that

was imminent and reasonably foreseeable.

         123. As a consequence, Brandon was incarcerated under conditions posing
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a substantial risk of violations to his Eighth Amendment right against cruel and

unusual punishment, which ultimately caused his death.

      124. Defendants’ policies, practices, acts, and omissions constituted

deliberate indifference to a serious risk of harm to Brandon and constitute

clearly-established violations of the Cruel and Unusual Punishments Clause of the

Eighth Amendment, made applicable to the States through the Fourteenth

Amendment to the United States Constitution.

      125. As a proximate result of Defendants’ illegal and unconstitutional acts

and omissions, Brandon experienced grave physical, emotional, and psychological

injury and pain; and died.

      126. The Defendants’ above-described actions were deliberate and in

reckless disregard of the constitutional rights of Brandon.

      127. Defendants’ conduct warrants an award of punitive damages in an

amount to be determined at trial. Punitive damages are necessary to deter future

Eighth Amendment violations by these Defendants.

                                    COUNT II

                Deliberate Indifference to Serious Medical Needs

                                 42 U.S.C. § 1983

              (Against ADOC Defendants and YesCare Defendants)
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       128. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs 37 through 70 of this Complaint

as if fully set forth herein.

       129. On or about November 16, 2023, Defendants and their agents acting

under color of state law within the meaning prescribed by 42 U.S.C. § 1983, were

deliberately indifferent to Brandon’s serious medical needs, in that they had

knowledge of Brandon’s serious medical need and condition requiring emergency

medical treatment yet refused to obtain or authorize that treatment for Brandon by

delaying or denying said treatment.

       130. The decisions of these individual defendants to deny Brandon medical

care were pursuant to one or more policies or customs at ADOC generally and

Ventress specifically, which included inadequate correctional officer training,

allowing untrained and/or poorly trained corrections officers to make decisions

regarding medical treatment, and denying and delaying necessary medical care to

inmates with serious medical needs in order to avoid incurring charges for said

medical treatment, overcrowded prison, and understaffed correction officer and

medical staffs.

       131. As a result of Defendants’ deliberate indifference to Brandon’s serious

medical needs for emergency treatment Brandon experienced severe pain,
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suffering, and death thereby depriving Brandon of his clearly established rights as a

prisoner under the Eighth and Fourteenth Amendments to the Constitution of the

United States in violation of 42 U.S.C. § 1983.

       132. The delay and denial of emergency medical treatment to Brandon for

the above-described serious medical need is directly attributable to one or more

customs and/or policies of the Defendants and/or violations of one or more

customs and policies.

                                       Count III

   Conspiracy to Cover Up Deliberate Indifference to Serious Medical Needs

                                and Health and Safety

                                   42 U.S.C. § 1983

                                (Against All Defendants)

       133. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs 37 through 117 of this Complaint

as if fully set forth herein.

       134. Defendants conspired with each other to cover up the deliberate

indifference to health and safety, failure to protect from harm, deliberate

indifference to serious medical needs, medical negligence, the conversion of

Brandon’s heart without the required approval from his next of kin, and the
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mishandling of Brandon’s corpse.

       135. As a result of Defendants’ acts and omissions, Plaintiffs have suffered

severe actual and emotional damages.

                                      COUNT IV

                                   Equal Protection

            Fourteenth Amendment of the United States Constitution

                                (Against All Defendants)

       136. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs 71 through 117 of this Complaint

as if fully set forth herein.

       137. Defendants singled out Brandon and Plaintiffs to exploit and conspire

against due to Brandon’s status as an incarcerated citizen. Defendants recklessly or

intentionally withheld life-saving treatment from Brandon, and then removed his

heart for unauthorized purposes, because he was incarcerated.

       138. Prison practices that single out inmates for organ removal and

retention merely because they happen to die in prison, or because of their imposed

sentence, or because of their lack of access to financial resources to ensure

adequate care, lack the requisite rationality required by the Equal Protection Clause

of the Fourteenth Amendment of the United States Constitution.
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                                      COUNT V

      Interference with the Right of Burial or Disposition of the Deceased

                                   42 U.S.C. § 1983

                                (Against All Defendants)

       139. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs of this Complaint 71 through 117

as if fully set forth herein.

       140. Defendants interfered with the right of burial or disposition of the

deceased in violation of the Due Process Clause of the Fourteenth Amendment.

       141. Following the deceased's death, Defendants interfered with Plaintiff’s

right to dispose of the deceased’s remains in a timely manner by refusing to release

the body to Plaintiff for burial, and turning over the body in a highly decomposed

state with the heart missing.

       142. Defendants’ interference with Plaintiff’s right of burial or disposition

of the deceased’s remains constituted a violation of Plaintiffs’ due process rights

under the Fourteenth Amendment.

       143. Although the deceased passed away before this Complaint was filed,

Plaintiff Audrey South has standing to assert this due process claim as the personal

representative of the deceased’s estate. The claim thus survives the deceased’s
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death.

                                       COUNT VI

                                State Law Wrongful Death

                                   Ala. Code § 6-5-410

                                 (Against All Defendants)

         144. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs 37 through 117 of this Complaint

as if fully set forth herein.

         145. The death of Brandon was the direct and proximate result of

Defendants’ reckless and intentional acts and omissions.

         146. Defendants’ actions and failures to act proximately caused Brandon’s

death. Defendants caused the wrongful death of Brandon as contemplated by

Alabama Code § 6-5-410.

         147. Brandon could have commenced an action for these wrongful acts or

failures to act if they had not caused his death. Defendants’ misconduct gives rise

to a cause of action by Brandon’s personal representative and renders Defendants

liable for punitive damages under Alabama’s wrongful death statute, Ala. Code §

6-5-410.

         148. Said defendants, separately and severally, owed a duty to Brandon to
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provide him with a standard of care of the degree of diligence and skill common in

the community and applicable to prisoners such as Brandon.

       149. Defendants violated this duty of care, and violated their own policies

and procedures, and in doing so violated statutory their duty under Alabama law to

attend to the needs of Brandon Dotson in the custody of the ADOC.

                                     COUNT VII

                                      Negligence

                                (Against All Defendants)

       150. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs 37 through 117 of this Complaint

as if fully set forth herein.

       151. Defendants returned the deceased’s body to Plaintiffs missing organs

and in a highly decomposed state.

       152. Defendants owed a duty of care to properly handle the deceased’s

body. By returning the body missing organs and in an advanced state of

decomposition, Defendants breached this duty and were negligent in their handling

of the corpse.

       153. As a direct and proximate result of Defendants’ negligent actions,

Plaintiff suffered actual and emotional distress damages.
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                                    COUNT VIII

                                     Wantonness

                                 Ala. Code § 6-11-20

                              (Against All Defendants)

       154. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs of this Complaint as if fully set

forth herein.

       155. Defendants committed an act of wantonness when they willfully

removed an organ from a deceased prison inmate without obtaining the necessary

consent from the inmate’s family.

       156. Defendants consciously disregarded the rights of Brandon’s family by

depriving them of a right that belonged to them alone.

       157. Defendants were fully aware that they needed consent from the

inmate’s family before harvesting the organ, yet they proceeded to do so anyway in

blatant disregard for the family’s rights. Their willful failure to obtain consent

demonstrates a reckless indifference that rises to the level of wantonness under the

law.

       158. Therefore, the state defendants' unauthorized organ removal

constitutes wantonness for which they can be held liable.
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                                      COUNT IX

                Failure to Notify Next of Kin When Retaining Organs

                                     SB 22 (2021)

                               (Against All Defendants)

      159. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs of this Complaint as if fully set

forth herein.

      160. Defendants violated state law by failing to provide notice to next of

kin when they retained the organs of Brandon.

      161.      Defendants violated state law by retaining a deceased person’s entire

organ for research or for any other purpose not in conjunction with a determination

of identification or cause or manner of death without notification to, and approval

by, the appropriate next of kin.

                                      COUNT X

                   Unauthorized Conversion of Anatomical Parts

                            Ala. Code § 22-19-163 (2022)

                               (Against All Defendants)

      162. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs of this Complaint as if fully set
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forth herein.

       163. Defendants violated state law by failing to provide notice to next of

kin when they retained the organs of Brandon.

       164. Defendants’ outrageous and inexcusable mishandling of the

deceased’s body amounts to a reprehensible violation of human dignity and

common decency. Their depraved indifference in returning the body bereft of vital

organs and in a revolting state of decay shows utter contempt for the deceased’s

memory and for the profound emotional distress wantonly inflicted upon the

Plaintiff.

       165. No civilized society can tolerate such a barbaric desecration of the

dead. That Defendants had the audacity to ransack the body and convert its parts

for their own selfish gain only compounds the egregiousness of their conduct.

Their brazen theft and exploitation of the helpless deceased shocks the conscience.

       166. In callously mistreating the deceased’s mortal remains, Defendants

trampled on Plaintiff’s sacred rights of sepulcher. Their appalling misconduct is

nothing short of grave robbery and mutilation.

       167.     Defendants violated state law by retaining a deceased person’s entire

organ for research or for any other purpose not in conjunction with a determination

of identification or cause or manner of death without notification to, and approval
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by, the appropriate next of kin.

                                      COUNT XI

                                   Unjust Enrichment

                                (Against All Defendants)

       168. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs 71 through 117 of this Complaint

as if fully set forth herein.

       169. Defendants retained various body parts, tissues, and organs from the

deceased after death without seeking or obtaining permission from Plaintiff to do

so.

       170. Defendants kept the body parts for purposes of research, study, and

potential sale or profit.

       171. By retaining the body parts without consent, Defendants were unjustly

enriched to Plaintiff’s detriment.

       172. Although certain Defendants may have had lawful initial custody of

the body, they did not have the right to retain any parts of it indefinitely without

authorization.

       173. Plaintiffs had the right to possession of the body in its entirety for

burial or other lawful disposition. Defendants’ continued retention and use of the
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body parts for their own benefit deprived Plaintiffs of that right.

       174. Therefore, Defendants’ unauthorized retention and use of the

deceased’s body parts constitutes unjust enrichment.

                                      Count XII

                                Spoliation of Evidence

                                (Against All Defendants)

       175. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs 71 through 117 of this Complaint

as if fully set forth herein.

       176. Defendants performed an autopsy on the deceased and removed the

heart, thereby concealing the true cause of death. By taking this action, Defendants

intentionally or recklessly destroyed or altered key evidence that deprived Plaintiff

of the ability to determine how the deceased died through an independent autopsy.

       177. The heart is a vital organ that would provide critical evidence in

assessing the cause of death. Without the heart, Plaintiff cannot obtain an accurate

and complete determination of the circumstances surrounding the deceased’s death.

       178. Defendants had a duty to preserve the integrity of all body parts

during the autopsy for any subsequent examinations.

       179. Their removal and retention of the heart breached this duty and
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prevented Plaintiff from exercising the right to conduct a full autopsy with all

organs present.

       180. As a direct result of Defendants’ spoliation, Plaintiff suffered damages

from being unable to discover the true cause of death.

                                      Count XIII

             Intentional Infliction of Emotional Distress, or Outrage

                                (Against All Defendants)

       181. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs 71 though 117 of this Complaint

as if fully set forth herein.

       182. Defendants’ conduct in unlawfully converting and retaining the heart

of the deceased and returning the body to Plaintiffs in a highly decomposed state

was intentional or reckless; was extreme and outrageous; and caused emotional

distress so severe that no reasonable person could be expected to endure it.

       183. Defendants’ conduct was so extreme in degree as to go beyond all

possible bounds of decency and can only be regarded as atrocious and utterly

intolerable in a civilized society.

       184. This wrongful conduct occurred in the context of a family-burial.

                                      COUNT XIV
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    FOR INJUNCTIVE RELIEF AGAINST DEFENDANT HAMM AND

      DEFENDANT ANGELO DELLA MANNA IN THEIR OFFICIAL

                                    CAPACITY

 (Against ADOC, Hamm, ADFS, Della Manna, The Board, UA System, and UA

                                    Foundation)

       185. The Plaintiffs adopt and incorporate by reference each and every

allegation contained in the preceding paragraphs 71 through 117 of this Complaint

as if fully set forth herein.

       186. The following Counts are brought for injunctive relief against

Defendant ADOC Commissioner Hamm and Defendant ADFS Director Della

Manna in their official capacity, pursuant to Ex parte Young, because they have the

requisite connection with ADOC’s violations of the Dotson family’s rights detailed

herein, namely the authority and responsibility to stop or prevent the violations

from occurring, by complying with the relief requested in Plaintiff’s upcoming

motion for a temporary restraining order.

       187. Defendants could halt or contribute to halting the constitutional

violations pleaded herein. Commissioner Hamm has the authority to oversee the

handling of the remains of a deceased incarcerated individual who dies in ADOC

custody and return them to Plaintiffs, as well as to instruct wardens to follow the
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law by requiring notification to and approval by the next of kin when organs are

retained after there is a death in ADOC custody. Defendant ADFS Director Della

Manna has the authority to instruct ADFS medical examiners not to remove organs

or tissues from a body undergoing an autopsy without permission from the next of

kin. UAB Defendants have the authority to instruct all institutions under its

supervision to cease the practice of retaining organs upon a death of a person in

state custody without proper and lawful consent from next of kin.

                               OTHER MATTERS

      188. All conditions precedent to the bringing of this suit have occurred.

                             PRAYER FOR RELIEF

WHEREFORE, premises considered, Plaintiffs respectfully requests that this Court

enter an Order:

   1. Entering a judgment against Defendants;

   2. Granting Plaintiffs’ motion for a temporary restraining order to:

         a. Prevent Defendants from retaining the remains of Plaintiffs’ loved one

             Brandon Dotson, and order their return to Brandon’s next of kin;

         b. Require that all tissues or organs obtained by Defendants without

             consent from the deceased or their family should be returned to family

             members, or, if not possible, they should be cremated and interred
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            properly;

         c. Determine that if organs are disconnected from their records (and thus

            not possible to prove they were obtained with consent), they should be

            considered obtained without consent.

   3. Awarding damages, compensatory, punitive and disgorgement of any profits

      from unlawful organ or tissue retention, to Plaintiffs against Defendants in

      an amount deemed appropriate by a jury and authorized by law;

   4. Awarding to Plaintiffs reasonable attorney fees, costs and expenses under 42

      U.S.C. §§ 1983 and 1988; and

   5. Providing such other and further relief to Plaintiffs as the Court deems just

      and proper.

Submitted this 24th day of February, 2024.


                                             ____________________
                                             Lauren Faraino, Esq.
                                             ASB-8098-C65A
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                          JURY DEMAND

Plaintiffs demand a trial by jury on all issues so triable.
                                                        ____________________
                                                                Lauren Faraino
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                      VERIFICATION OF COMPLAINT

      I, attorney Lauren Faraino, declare under penalty of perjury pursuant to 28

U.S.C. § 1746, that the factual allegations in the above Complaint are true and

correct based on a reasonable belief supported by a reasonable investigation into

the relevant witnesses and documents.

      I am above the age of 18 and of sound mind, competent to make this

statement. Executed on February 24, 2023.

                                                           ____________________
                                                                   Lauren Faraino
     Case 2:23-cv-01657-MHH Document 41-1 Filed 02/24/24 Page 55 of 55




                         CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2024, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will
electronically send notification of such filing to all counsel of record.

                                                           ____________________
                                                                   Lauren Faraino
